                  IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA (Decatur)


  RE: Brett Andrew Millar                         CASE NO.: 19-82211-CRJ7

  DEBTOR                                          CHAPTER 7


                                 NOTICE OF APPEARANCE

         Comes now JOSHUA B. WHITE, an attorney authorized to practice in this Court, and files
 his notice of appearance on behalf of REDSTONE FEDERAL CREDIT UNION, pursuant to Rule
 9010 (b), Federal Rules of Bankruptcy Procedure. Please direct all future notices to which
 REDSTONE FEDERAL CREDIT UNION, is entitled to:

        Dated this 1st day of August, 2019.

 OF COUNSEL:

 STEPHENS MILLIRONS, P.C.                            BY: /s/ Joshua B. White
 120 Seven Cedars Drive                                  JOSHUA B. WHITE
 Post Office Box 307                                     Attorney for Creditor
 Huntsville, Alabama 35804
 (256) 382-5500

                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing has been served upon the attorney of record
 for debtor, Adam C. Dauro, adauro@heardlaw.com, and the trustee of record, Judith Thompson,
 judith@al-bk.com, electronically through the Court’s electronic filing system.

        Dated this 1st day of August, 2019.

                                                    /s/ Joshua B. White
                                                    JOSHUA B. WHITE




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